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 1   MCCARTER & ENGLISH, LLP
     MARK GIARRATANA (pro hac vice)
 2   THOMAS J. RECHEN (pro hac vice)
 3   KEVIN REINER (pro hac vice)
     mgiarratana@mccarter.com
 4   trechen@mccarter.com
     kreiner@mccarter.com
 5   CityPlace I
     185 Asylum Street
 6
     Hartford, CT 06103
 7   Telephone:    860.275.6700
     Facsimile:    860.218.9680
 8
     NOSSAMAN LLP
 9   JAMES H. VORHIS (SBN 245034)
10   jvorhis@nossaman.com
     DAVID C. LEE (SBN 193743)
11   dlee@nossaman.com
     50 California Street, 34th Floor
12   San Francisco, CA 94111
     Telephone:     415.398.3600
13
     Facsimile:     415.398.2438
14
     Attorneys for Defendant FINELITE, INC.
15

16                                UNITED STATES DISTRICT COURT

17                               NORTHERN DISTRICT OF CALIFORNIA
18   SEOUL SEMICONDUCTOR CO., LTD., a              Case No: 3:22-cv-02869-WHO
     Korean corporation, SEOUL VIOSYS CO.,
19   LTD., a Korean corporation,                   Assigned for all purposes to Hon. William H.
                                                   Orrick
20                 Plaintiffs,                     REQUEST FOR JUDICIAL NOTICE IN
21                                                 SUPPORT OF DEFENDANT FINELITE,
             vs.                                   INC.’S PARTIAL MOTION TO DISMISS
22                                                 AMENDED COMPLAINT
     FINELITE, INC.,
23                 Defendant.                      Date:        September 28, 2022
                                                   Time:        2:00 p.m.
24                                                 Location:    Courtroom 2, 17th Floor
25
                                                   Action Filed: May 13, 2022
26

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                    REQUEST FOR JUDICIAL NOTICE ISO DEFENDANT FINELITE, INC.’S
                         PARTIAL MOTION TO DISMISS AMENDED COMPLAINT

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 1           Defendant Finelite, Inc. (“Finelite”) respectfully requests that the Court take judicial
 2   notice of the following documents attached to the Declaration of Kevin L. Reiner, filed
 3   concurrently herewith, pursuant to Federal Rule of Evidence 201:
 4           Exhibit A: Final Written Decision (“FWD”) of the Patent Trial and Appeal Board
 5   (“PTAB”) of the United States Patent and Trademark Office (“USPTO”), dated June 25, 2021, in
 6   inter partes review (“IPR”) no. 2020-00146 of U.S. Patent No. 7,667,225 (“the ’225 Patent”).
 7           Exhibit B: Decision of the PTAB of the USPTO, dated June 8, 2020, in IPR no. 2020-
 8   00248 of U.S. Patent No. 9,716,210 (“the ’210 Patent”).
 9           Exhibit C: FWD of the PTAB of the USPTO, dated July 21, 2021, in IPR no. 2020-
10   00410 of U.S. Patent No. 10,134,967 (“the ’967 Patent”).
11           The FWDs and the Decision are part of the official, public USPTO file history of the
12   respective Patents. Under Fed. R. Evid. 201(b), courts may judicially notice a fact that is not
13   subject to reasonable dispute because it is “generally known within the territorial jurisdiction of
14   the trial court” or “capable of accurate and ready determination by resort to sources whose
15   accuracy cannot reasonably be questioned.” Courts may also take judicial notice of public
16   records, including the UPSTO’s records. Lee v. City of Los Angeles, 250 F.3d 668, 689 (9th Cir.
17   2001) (taking judicial notice of “matters of public record”); see also Prime Focus Creative Servs.
18   Can. v. Legend3D, Inc., No. CV-15-2340-MWF (PLA), 2015 U.S. Dist. LEXIS 188992, at *4
19   (C.D. Cal. 2015) (taking judicial notice of IPR Petition as part of USPTO record, and thus “taken
20   from a source whose accuracy cannot reasonably be questioned”); Advanced Steel Recovery,
21   LLC v. X-Body Equip., Inc., No. 216CV00148KJMEFB, 2016 U.S. Dist. LEXIS 105211, 2016
22   WL 4192439, at *3 (E.D. Cal. 2016) (patent's file history was matter of public record subject to
23   judicial notice); Wi-LAN Inc. v. LG Elecs., Inc., 382 F. Supp. 3d 1012, 1028 (S.D. Cal. 2019)
24   (taking judicial notice of records and reports of administrative bodies, including USPTO
25   records).
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 1            In sum, the FWDs and the Decision are part of the public USPTO record, and thus are
 2   taken from a source whose accuracy cannot reasonably be questioned. Finelite respectfully
 3   requests that this request for judicial notice be granted as to each such document.
 4

 5    Date:        August 24, 2022                      MCCARTER & ENGLISH, LLP
                                                        NOSSAMAN LLP
 6                                                      JAMES H. VORHIS
                                                        DAVID C. LEE
 7

 8                                                      By: /s/ James H. Vorhis
 9                                                             James H. Vorhis

10                                                      Attorneys for Defendant FINELITE, INC.

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